Case 2:17-cr-20568-RHC-RSW ECF No. 19, PageID.55 Filed 01/14/21 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                         Plaintiff                Honorable Robert H Cleland

-vs-

CHRISTOPHER SORRENTINO,                           Case No 17-cr-20568

                         Defendant
                                           /


                    ORDER ADJOURNING SENTENCING


         WHEREAS, a Stipulation to said effect having been filed and the Court

being duly advised in these premises;

         IT IS HEREBY ORDERED the Sentencing currently scheduled for

January 21, 2021, at 10:00 a.m. be Adjourned to April 22, 2021, at 2:00 p.m.



                                                  s/Robert H. Cleland
                                                  United States District Judge

Dated: January 14, 2021.
